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                             UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF FLORIDA
                                    TAMPA DIVISION

UNITED STATES OF AMERICA

VS.                                                           Case No. 8:05-CR-365-T-27TBM

SERGE0 PORTOCARRERO-REINA; et al.


                                              ORDER

        BEFORE THE COURT is Defendant Mina's Motion to Dismiss (Dkt. 58) and the

Govcmment's Response in opposition (Dkt. 78)' The Court conducted an evidentiary hearing on

the Motion to Dismiss. At the conclusion of the hearing, the Court made findings of fact and denied

Defendant Mina's Motion to Dismiss (Dkt. 58). This Order memorializes that ruling.

        On or about August 19,2004, the Colnmbian fishing vessel RIO MAR I was interdicted by

the U.S. Coast Guard cutter USS JARRETT in international waters approximately 90 nautical miles

 southwest of the Galapagos Islands. Prior the interdiction, the RIO MAR I had been surveilled, as

 it was operating in an area known for drug trafficking. During surveillance, a cable attached to and

trailing from the stem of the RIO MAR I was observed. The Coast Guard suspected that the RIO

 MAR I was engaged in drug trafficking and was towing an identified object. After receiving

 authority from the Columbian government, the Coast Guard boarded the RIO MAR I. Thereafter,

the Coast Guard located a submersible approximately 15 miles from where the RIO MAR I had been

 hoarded. By the time the submersible had been located, the USS JARRETT and RIO MAR I were



        ' All Defendants have joined in Mina's Motion to Dismiss. All previously filed motions to
 adopt were granted. (See Dkts. 62,70, 77,80, 84,85,93, 103, 105,63, 101, 102, 100,99,97, 104, 109,
 110).
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approximately 68 nautical miles away. Attached to the submersihle was a 350 ft. cahle. On the

submersible was approximately 5500 lbs. of cocaine. The cable and chafing gear attached to the

submersible's nose appeared to match what had been observed attached to the stern of the RIO MAR

I. Suspecting that the RIO MAR I had been towing the submersible, the USS JARRETT escorted

the RIO MAR I to the submersible.

        During the inspection of the submersible and the RIO MAR I, more than 300 photographs

of the RIO MAR I and submersihle were taken. Additionally, a video was taken of the interior of

the submersible, including its electronics and hardware. The Coast Guard documented the

dimensions of the submersihle and the RIO MAR I, including the RIO MAR I's tonnage, engines

and physical characteristics. A tow bit to which the cahle had been attached was cut from the stem

of the RIO MAR I and preserved. The electronics from both vessels were preserved.

        The Coast Guard desired to bring the RIO MAR I and the submersihle to port, particularly

since it had not intercepted a submersihle being used in drug trafficking before. Through the chain

of command, the Coast Guard exhausted all reasonable methods of preserving the submersihle,

 including an unsuccessful attempt to lift it from the water using the USS JARRETT's helicopter.

 An attempt to use the USS JARRETT's davit system was unsuccessful, causing damage to the chains

 and davit. The USS JARRETT was running low on fuel and it was calculated that it would take

approximately ten days or 200 hours for the USS JARRETT to tow the submersible to the nearest

port in Panama, approximately 1,080 nautical miles. The USS JARRETT's commanding officer

 determined that the USS JARRETT did not have the proper equipment to tow either the RIO MAR
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        On August 24,2004, it was determined that the RIO MAR I and the submersible would be

sunk as hazards to navigation. Extensive discussions had taken place throughout the chain of

command exploring alternatives to destroying the R10 MAR1 and submersible. After two and a half

days of discussions and attempts, it was determined that it was not practical to bring either the RIO

MAR I or the submersible to port. The Coast Guard followed its standard protocol for determining

whether to sink the vessels as navigational hazards. In addition to the USS JARRETT being low on

fuel, its commander had concerns about potential risk to the USS JARRETT if it attempted to tow

the submersible to port. Moreover, because of Hurricane Katrina, there were no viable "assets"

available to transport the submersible.

        After the decision had been made to destroy the RIO MAR I and submersible, the

commander of the USS JARRETT was instructed to photograph everything and conduct a thorough

investigation. An intrusive investigation of the RIO MAR I was conducted as well. Although the

Coast Guard found three monofilament fishing lines attached to the stem of the RIO MAR I, there

were no hooks attached. Five to ten hooks were found on the deck of the RIO MAR I, its fishing

nets were dry, there was no bait on board. Other than ice in the fish hold, the Coast Guard found no

evidence of commercial fishing activity on the RIO MAR I. Photographs were taken of all fishing

equipment, including the ice in the hold. Chafing gear similar to that found attached to the

submersible was located on the RIO MAR1 andphotographed, before it was removed andpreserved.

        Defendants contend that the destruction of the RIO MAR I and submersible prevent them


          Although the RIO MAR I was described as somewhat seaworthy, the boarding crew observed
fuel in the bilge and had concerns over its seaworthiness. The crew also observed that the RIO MAR I
was taking on water.
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 from investigating and determining whether the RIO MAR I was capable of towing the submersible,

 and was outfitted for fishing as the Defendants maintain. Acknowledging the hundreds of

 photographs of the RIO MAR I and submersible and the videotape of the interior of the submersible,

 Defendants nonetheless contend that the destruction of the vessels in and of itself violated their due

 process rights.

         Where evidence has been lost or destroyed, a defendant who contends that the missing

 evidence is material to the defense must satisfy a two-prong materiality standard. Calijornia v.

 Trombetta, 467 U.S. 479 (1984). The defendant must show that the exculpatory value of the

 evidence was apparent before the destruction and that the defense would be unable to obtain

 comparable evidence by other reasonably available means. Id. at 489. Additionally, where the

 defense establishes that the destroyed evidence would have been potentially useful as a basis for

 exonerating the defendant, a defendant must show that the government acted in bad faith in

 destroying the evidence. Arizona v. Youngblood, 488 U.S. 5 1, 57-8 (1989).

         Here, even assuming for purposes of the instant motion that the RIO MAR I and the

 submersible possessed exculpatory value which was apparent to the Coast Guard before the vessels

 were sunk, and that the Defendants are not able to obtain comparable evidence by other reasonably

 available means, Defendants have not shown that the Coast Guard acted in bad faith when it

 determined to sink the RIO MAR I and submersible as hazards to n a ~ i g a t i o n . ~



         ' In this unique case, where the Government's burden will he to establish that the submersible
 had been towed by the RIO MAR I, the desirability of an opportunity to inspect the physical
 characteristics of both vessels is understandable. The physical evidence in this case is expected to play a
 significant role in the defense. The weight and configuration of the submersible and the RIO MAR 1's
 towing capability will be material to the Government's theory. While the Court assumes, for purposes of
 this motion, that both vessels have exculpatory value which was apparent before they were sunk and that
 the Defendants arc not able to replicate the vessels, the Court has not been convinced that the defense
 actually is unable to obtain comparable evidence through use of an expert witness. Other than general
 contentions and argument, Defendants have presented no evidence of their inability to reconstruct the
 physical evidence through use of the photographs and videos taken, as well as the physical evidence
 which was preserved.
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        The Coast Guard followed its standard protocol in determining whether the sink the RIO

MAR I and submersible as navigational hazards. The Coast Guard had exhausted all reasonable

alternatives of preserving the submersible, including the extraordinarily risky attempt to lift it

through use of the USS JARRETT's helicopter. The USS JARRETT damaged its davit system when

 attempting to lift the submersible from the water. It was not practical to tow the submersible or the

 RIO MAR I to port, given the USS JARRETT's low fuel and the distance. To the extent the

 Defendants argue that the RIO MAR I could have been sailed to port, there was sufficient evidence

 of unseaworthmess to support the Coast Guard's decision not to do so, particularly considering the

 time and distance involved. Before sinking the vessels, the Coast Guard took hundreds of

 photographs and documented the interior of the submersible through video. The video, number of

 photographs and the evidence preserved mitigates against any suggestion that the Coast Guard sank

 the RIO MAR I and submersible in bad faith for the purpose of destroying evidence which could

 exonerate the Defendants. Moreover, with respect to the submersible, the Coast Guard had at least

 as great an interest in preserving it as Defendants.

         With respect to the RIO MAR I, its seaworthiness was questionable and it was not feasible

 or practical to sail it over 1,000 miles to Panama. The Coast Guard had other interdiction

 responsibilities, the RIO MAR I was taking on water, there was evidence of fuel in the bilge and it

 would have taken weeks to sail it to Panama. In any event, the hundreds of photographs of the RIO

 MAR I and the evidence preserved from it mitigates against any suggestion that it was sunk for the

 purpose of destroying evidence which arguably could exonerate the Defendants. To the extent

 Defendants contend that the RIO MAR I was simply a fishing boat, they have ample testimony and

 evidence available, as a result of the Coast Guard's evidence accumulation, to support that claim.
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         In sum, the Coast Guard followed its standard protocol for the sinking of a vessel as a

 navigational hazard. All efforts to preserve the submersible had been exhausted. It was not practical

to tow either the RIO MAR I or the submersible to port and they could not simply be abandoned on

 the open sea without posing a hazard to navigation. The sinking ofthe RIO MAR I and suhmersiblo

 have not, therefore, been shown to have been conducted in had faith. Accordingly, it is

         ORDERED AND ADJUDGED that Defendant Mina's Motion to Dismiss (Dkt. 58) is

 DENIED.

         DONE AND ORDERED in chambers this            4TaY
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 Copies to:
 Counsel of Record
